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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




TIKTOK INC., et al.,

                       Plaintiffs,

      v.                                     Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                       Defendants.




                  MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR PRELIMINARY INJUNCTION
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                                      INTRODUCTION

       This motion seeks to enjoin the government from unlawfully banning TikTok—a mobile

software application and online communication forum used by over 100 million Americans—from

the United States. On August 6, 2020, President Trump issued an executive order that invoked the

International Emergency Economic Powers Act (“IEEPA”) and purported to ban “any

transactions” with TikTok in 45 days (“August 6 order”). The order directed the Department of

Commerce to identify the specific transactions prohibited by the order. On September 18, the

Department of Commerce issued a list of the prohibited transactions (“the Prohibitions”), which it

ordered to be implemented in two phases: (i) an initial prohibition that prevents TikTok from

being available for download or update in the United States on mobile application stores as of

September 20, 2020; and (ii) a subsequent set of prohibited transactions necessary to maintain and

support TikTok’s core functionality that will force the complete shut-down of the application in

the United States on November 12, 2020. Thereafter, on September 21, 2020, the Commerce

Department withdrew the above notice. Then, on September 22, 2020, the Commerce Department

issued a new notice, which will be published in the Federal Register on September 24, 2020, that

extends the effective date of the initial Prohibition by one week, from September 20 to September

27, 2020. As explained herein, Plaintiffs have made extraordinary efforts to try to satisfy the

government’s ever-shifting demands and purported national security concerns, including through

changes in the ownership and structure of their business, and they are continuing to do so.

However, because the Prohibitions and the August 6 order dramatically exceed the agency’s and

the President’s lawful power as authorized by Congress and permitted by the U.S. Constitution,

they should be enjoined.




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       First, IEEPA specifically states that the President’s authority does not extend to the direct

or indirect regulation or prohibition of “personal communication” and the international flow of

“information or informational materials” such as film, photographs, and artwork, regardless of the

“format or medium of transmission.” 50 U.S.C. § 1702(b)(1), (3). Here, the Prohibitions expressly

violate this statutory command by prohibiting TikTok’s users—including Plaintiffs—from (1)

sending personal communications to one another over the platform, and (2) sharing with other

users, including users in other countries, the very content (videos and artwork) that the statute

identifies as beyond the President’s authority.

       Second, the Prohibitions are unlawful under the Administrative Procedure Act (“APA”),

5 U.S.C. § 702(2)(A), which prohibits agency action that is “arbitrary, capricious, or otherwise not

in accordance with law.” 5 U.S.C. § 706(2)(A). The government’s conduct is neither reasonable

nor reasonably explained, and so is arbitrary and capricious in multiple respects. The Commerce

Department ignored the evidence before it and failed to consider reasonable alternatives to the

Prohibitions that would have addressed its purported national security concerns. Moreover, as the

President’s and other agency officials’ confusing and contradictory statements about TikTok over

many months demonstrate, the Prohibitions were not motivated by a genuine national security

concern, but rather by political considerations relating to the upcoming general election.

       Third, the Prohibitions violate the First and Fifth Amendments. Plaintiffs—as well as

millions of Americans every day—engage in core protected speech on TikTok in pursuit of a wide

variety of political, social, and cultural ends. The Prohibitions unlawfully restrict this speech in

violation of the First Amendment. Furthermore, by prohibiting TikTok from operating in the

United States without providing Plaintiffs notice or opportunity to be heard, the Commerce

Department violated the due process protections of the Fifth Amendment.




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        Fourth, the Prohibitions and August 6 order exceed the Commerce Department’s lawful

authority because they are not based on a bona fide national emergency and prohibit activities that

have not been found to pose “an unusual and extraordinary threat,” as IEEPA requires.

        Plaintiffs are likely to succeed on the merits of each of these claims, any of which would

support a preliminary injunction enjoining the Prohibitions and August 6 order pending the

resolution of this action. There is simply no genuine emergency here that would justify the

government’s precipitous actions, as evidenced by the Commerce Department’s 45-day delay in

issuing the Prohibitions after the President identified the purported national security threat, as well

as the additional one-week delay in implementing the first Prohibition, and the further seven-week

delay in fully implementing the Prohibitions’ restrictions. And there is no plausible reason to insist

the Prohibitions be enforced immediately. This is particularly true for the first Prohibition, which

eliminates only new TikTok users and allows continued use of the application in the United States

for existing users, but does not allow updates (including security updates) to maintain that

service—an action that will contribute to a data privacy risk instead of ameliorating it,

undermining the very reason the Prohibitions were purportedly issued.

        Meanwhile, if the Prohibitions are not enjoined, the harm to Plaintiffs will be irreparable.

When the Prohibitions first take effect on September 27, 2020, hundreds of millions of Americans

who have not yet downloaded TikTok will be shut out of this large and diverse online

community—six weeks before a national election. And an American company that employs

thousands of individuals will suffer devastating harm to its business, from which it cannot recover

even if this Court concludes the government’s conduct was unlawful.

        The Prohibitions and August 6 order should accordingly be preliminarily enjoined pending

the resolution of this action.




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                                   STATEMENT OF FACTS

       A.      TikTok Is a Massively Popular Forum for Creative Expression and Political
               Speech, Akin to a Virtual “Town Square” for Over 100 Million Americans.

       TikTok is a social media application (or “app”) that provides an online communication

platform for users to create and share short-form videos. See Decl. of Vanessa Pappas (“Pappas

Decl.”) ¶¶ 4, 17. In this respect, TikTok operates much like other apps such as Snapchat, YouTube,

and Instagram, in that users create and post content on the platform. Id. ¶ 19. Since its global

launch in September 2017, TikTok’s popularity has exploded, both in the United States and around

the world. Today, based on quarterly usage, over 100 million Americans use TikTok, and until

recently, TikTok was adding 424,000 new daily U.S. users each day. Id. ¶¶ 9, 18. While many

users are attracted to TikTok because of the blend of entertainment, creativity, and humor that the

application provides, TikTok also is used to discuss more serious subjects, including political and

social issues of all types and from all perspectives. Ex. 1.

       TikTok is operated by Plaintiff TikTok Inc., a California corporation headquartered in Los

Angeles with a U.S.-based management team, and its parent company, Plaintiff ByteDance Ltd.,

is incorporated in the Cayman Islands, with offices in the United States, China, and elsewhere.

TikTok was designed from the ground up to serve a user base outside of China and to be completely

separate from ByteDance’s China-facing applications. Declaration of Roland Cloutier (“Cloutier

Decl.”) ¶ 8. TikTok is not and never has been offered in China. Id. ¶ 4.

       B.      TikTok Has Implemented Safeguards to Protect the Security of U.S. User
               Data.

       An important public policy issue affecting all social media companies is the security of

user data. Declaration of Steven Weber (“Weber Decl.”) ¶ 4. Security risks are indisputably an

industry-wide issue. Id. Sophisticated organizations and information security professionals

understand that malicious actors are constantly evolving, which means the data security threat


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landscape is always changing. Id. ¶ 5. Even an organization that maintains best-in-class security

practices across the board can never eliminate the risk that its data may be inadvertently accessed

or disclosed. Id.

       The industry has developed a range of safeguards and best practices that can effectively

counter these risks. Id. ¶¶ 4, 9. For example, it is preferable from a data security perspective to

segment and tightly control access to sensitive data in order to minimize unauthorized access or

other deviations from expected behaviors. Id. Sensitive user data should also be stored in

encrypted form using industry-standard methods, so that even if the data is subject to unauthorized

access, it will be indecipherable to the person or organization who lacks the encryption key. Id.

       TikTok’s approach for dealing with data security risks is consistent with these industry best

practices. Weber Decl. ¶ 10. For example, TikTok segments U.S. user data and imposes access

control and auditing policies that limit and track access to customer data. Id. TikTok also encrypts

user data in storage and during transmission using the same industry-standard protocols as major

banks and e-commerce platforms, and limits management of encryption keys to TikTok’s U.S.-

based security team. Cloutier Decl. ¶¶ 8-9; see Weber Decl. ¶ 10.

       The corporate officer entrusted with protecting TikTok user data, Chief Security Officer

Roland Cloutier, is an American citizen based in Florida. Cloutier Decl. ¶¶ 1-2. Vanessa Pappas,

ByteDance’s interim head of the global TikTok business, also is based in the United States. Pappas

Decl. ¶ 6. As Mr. Cloutier and Ms. Pappas explain in their declarations, neither TikTok Inc. nor

ByteDance provides TikTok user data to the Chinese government, and the Chinese government

has never asked for data on TikTok users or to moderate TikTok content. Cloutier Decl. ¶¶ 1-2;

Pappas Decl. ¶ 15. If they were to do so, Plaintiffs would reject such a request. Cloutier Decl.

¶ 12; Pappas Decl. ¶ 15. Moreover, before any ByteDance China-based engineering personnel




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may access encrypted TikTok user data, they must receive express permission through a process

overseen by TikTok’s U.S.-based team. Cloutier Decl. ¶ 12; Weber Decl. ¶ 10.

       Another industry-wide policy issue raised by social media companies is the integrity of

algorithms that are used to recommend content to users. Weber Decl. ¶¶ 4, 13. Here too, the

industry has developed best practices to combat the use of algorithms to manipulate opinions or

change perspectives in illegitimate ways. Id. ¶ 13. Consistent with these industry standards,

TikTok maintains safeguards to protect the integrity of its source code, or “recommendation

algorithm.”   Cloutier Decl. ¶¶ 14-17.    There is no evidence that its source code has been

compromised such that the app is being used to censor content or spread misinformation. See

Weber Decl. ¶¶ 14-17. Like many multinational technology corporations, TikTok Inc. relies on

engineers in China to help develop its code. Cloutier Decl. ¶ 14. To protect the integrity of its

source code, TikTok Inc. deploys industry standard workflow systems that require employees to

obtain appropriate authorizations to access source code. Id. Such access is continually monitored

and logged, and TikTok’s source code undergoes both internal and third-party reviews to guard

against any potential vulnerabilities. Id. ¶ 16. Even further, in late July 2020, TikTok announced

the creation of a “Transparency and Accountability Center,” where outside experts will have the

opportunity to examine the TikTok code, including the code driving the recommendation

algorithms that determine what content is shown to users—an unprecedented step for a technology

or social media company. Ex. 2; see Weber Decl. ¶ 17.

       C.      For Almost a Year Before the Ban, TikTok Participated Transparently in a
               National Security Review and Made Extensive Efforts to Fully Address All
               Purported Concerns.

       In 2019, ByteDance was notified that the Committee on Foreign Investment in the United

States (“CFIUS”) was considering whether to review a 2017 acquisition by ByteDance of

Musical.ly, a China-based video-sharing application that was merged with TikTok and largely


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abandoned.1     From October 2019 through August 2020, Plaintiffs provided voluminous

documentation in response to CFIUS’s questions, including about Plaintiffs’ data security

safeguards that help ensure TikTok’s U.S. user data is appropriately safeguarded in the United

States and cannot be accessed by any unauthorized person.               Notwithstanding the U.S.

government’s failure to identify any security risk, Plaintiffs engaged extensively with the

government in good faith to provide a constructive solution to any conceivable concerns the

government may have. Ex. 3. Such a solution would have allowed the U.S. government to

mitigate national security risks around data and algorithms beyond what it could achieve with

TikTok’s domestic competitors. See Weber Decl. ¶ 18.

       D.      The Administration’s Political Focus on China and on TikTok.

       While the CFIUS negotiations were ongoing, the political climate changed, and China, and

ultimately TikTok, became an increasingly prominent political focus of the President. In January

2020, President Trump stated on Twitter that the recently signed trade deal between the United

States and China would “bring both the USA & China closer together in so many other ways” and

that it was “[t]errific working with President Xi [Jinping], a man who truly loves his country.”

Ex. 4 at 3. Even as the COVID-19 pandemic emerged, the President stated that he had “a great

relationship with President Xi,” Ex. 5 at 1, and that “[t]he United States greatly appreciates

[China’s] efforts and transparency [on the Coronavirus],” Ex. 4 at 3.




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        CFIUS is an interagency committee of the executive branch tasked with reviewing foreign
acquisitions of U.S. businesses to determine their impact on national security. See 50 U.S.C.
§ 4565. CFIUS is empowered to mitigate these risks by imposing or otherwise reaching agreement
with the transaction parties on conditions to address national security concerns. Id. If the risks to
a particular transaction cannot be mitigated, the President is empowered to prohibit the transaction
to the extent otherwise authorized by CFIUS. Id.



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       As the COVID-19 pandemic spread across the United States and the domestic economy

worsened, however, the President and members of his administration began to use increasingly

harsh anti-Chinese political rhetoric and repeatedly sought to blame China for all of the manifest

ills of the pandemic. See, e.g., Ex. 6 at 18 (“China sent us the plague, thank you very much.”);

Ex. 7 at 11 (“The fact is, people don’t like saying it—they know it’s true: It’s China’s fault.

Okay?”). On July 31, 2020, in a series of remarks he made in Florida, the President said: “We

will make America great again, you’ve heard that before. And we were there until the virus came

upon us and we’ll soon be there again. And China, we have not forgotten.” Ex. 8 at 5.

       In the summer of 2020, the President and his campaign began targeting TikTok, shortly

after it surfaced in public reporting that TikTok users had claimed they used the app to coordinate

mass ticket reservations for the President’s campaign rally in Tulsa, resulting in an embarrassment

for the President’s campaign when significantly fewer persons appeared for the rally than the

campaign had projected in the days leading up to the event. Ex. 9. Shortly thereafter, Secretary

of State Pompeo announced that the Administration was “looking at” banning TikTok, Ex. 10, and

the President’s re-election campaign ran negative Facebook advertisements targeting the app and

asking supporters to “sign the petition now to ban TikTok,” Ex. 11.

       E.      President Trump Issues His August 6 Order Premised on a Purported Need to
               Ban TikTok, but Subsequent Administration Actions Immediately Undercut
               That Justification.

       On August 6, 2020, President Trump issued an executive order entitled “Addressing the

Threat Posed by TikTok.” See Ex. 12. The order speculated—without any evidentiary support—

that ByteDance’s ownership of TikTok could allow China to access and misuse U.S. user data,

and that the Chinese government may censor or use TikTok content for propaganda purposes.

Invoking IEEPA, the order prohibits “any transaction” by “any person, or with respect to any

property, subject to the jurisdiction of the United States,” with “ByteDance Ltd. (a.k.a. Zìjié


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Tiàodòng), Beijing, China, or its subsidiaries, in which any such company has any interest, as

identified by the Secretary of Commerce.” Id. It further directs the Secretary of Commerce to

“identify the transactions subject to” the ban 45 days after the date of the order, and declares that

the transactions are prohibited “beginning 45 days after” the August 6 order, i.e., September 20,

2020. Id.

       The August 6 order was issued suddenly and without warning, on the heels of the anti-

TikTok statements by the Administration and the Trump campaign. The order reflects nothing of

the then-ongoing CFIUS process, and, indeed, the order’s facial assertion that a complete U.S. ban

is required is directly rebutted by those efforts. See id.

       In the aftermath of the TikTok ban, senior government officials made statements

demonstrating that the August 6 order was animated by China-focused considerations unrelated to

Plaintiffs. On August 20, 2020, for example, Undersecretary of State Keith Krach candidly

acknowledged that the TikTok ban is “really about . . . three things”—none of which have anything

to do with the supposed national security threat alleged in the August 6 order: (i) “the Communist

Party’s surveillance state and 5G is the backbone”; (ii) “that great China Firewall where all data

can go in, but none come out”; and (iii) “reciprocity, because our apps aren’t allowed in China . . .

look at YouTube or Google search.” Ex. 13.

       Meanwhile, on August 14, 2020, invoking CFIUS, the President issued a separate

executive order titled “Regarding the Acquisition of Musical.ly by ByteDance Ltd.,” which orders

ByteDance to divest the U.S. TikTok business. Ex. 14 (“CFIUS order”). In the weeks following

the CFIUS order, the President asserted that for him to approve a restructuring that would avoid

the ban, the Treasury Department had to receive a “substantial portion” of any price paid by the

U.S. acquirer or partner. Ex. 15; see Ex. 16 at 2. It is entirely improper for the President to demand




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a payment in these circumstances—as the President himself has since admitted.                 Ex. 17

(“Amazingly, I find that you’re not allowed to do that — you’re not allowed to accept money. . . .

There’s no legal path to doing that.”).

          On September 3, 2020, Plaintiffs received an 18-item administrative subpoena from the

Department of Commerce. Ex. 18. This subpoena, issued nearly a month after the August 6 order,

requested broad categories of records regarding, among other topics, Plaintiffs’ data centers,

domain names, business partners, content moderation, data collection, and employees—exactly

the sort of information one would expect the government to assess before issuing anything as

sweeping as the August 6 order. Id.

          On August 28, 2020, China’s Ministry of Commerce and Ministry of Science and

Technology issued regulations that prevent “technology based on data analysis for personalized

information recommendation services” from being exported without a license. Ex. 19; see Exs. 20,

21. TikTok’s recommendation engine technology was part of the contemplated restructuring of

TikTok’s U.S. operations, and this regulatory requirement accordingly affected the negotiations

that Plaintiffs were then pursuing.

          In light of this changing landscape, and even though Plaintiffs believed the August 6 order

to be unlawful, they continued to work in good faith to explore alternative measures that might

satisfy the Administration. To this end, on September 13, Plaintiffs submitted another proposal to

the U.S. government setting forth additional details on a multi-layered approach to security of the

app and user data to fully address any concerns claimed in the August 6 and CFIUS orders. See

Ex. 22.




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       F.      The Commerce Department Issues Prohibitions That Will Ban TikTok in the
               United States.

       With the discussions between TikTok and the U.S. government still ongoing, on

September 18, 2020, the Department of Commerce issued a list of prohibited transactions to

implement the August 6 ban. Ex. 23 (“Prohibitions”). The Prohibitions simply incorporate by

reference the President’s purported justifications for the August 6 order, and offer no additional

factual support for the ban. The Prohibitions identify a series of prohibited transactions that were

to take effect on September 20, 2020 and November 12, 2020, first requiring the removal of

TikTok from U.S. app stores, and, then shutting down TikTok in the United States entirely.

       On September 19, 2020, the President informed reporters that he had given his “blessing”

and “approve[d] . . . in concept” an agreement between TikTok, Oracle, and Walmart to create a

new U.S.-based entity called TikTok Global. Ex. 24. The President indicated that the agreement

involved “about a $5 billion contribution toward education,” but did not specify the source of the

investment or the purpose for which it would be used. Ex. 25. The Commerce Department also

issued a press release stating that, “in light of recent positive developments,” the first phase of the

Prohibitions banning TikTok from U.S. app stores would be postponed from September 20 until

September 27, 2020. Ex. 26.

       The same day, TikTok released a statement regarding its proposed agreement to address

the U.S. government’s national security concerns. Ex. 22. Under the proposal, (1) Oracle would

host all U.S. user data and secure associated computer systems to ensure that U.S. national security

requirements are satisfied, (2) TikTok would enter into a commercial partnership with Walmart,

and (3) both Oracle and Walmart would receive up to a 20 percent stake in TikTok Global. Id.

       During a campaign rally in Fayetteville, North Carolina that evening, however, the

President announced to supporters what he alleged to be a new term of the proposed TikTok



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agreement. Specifically, he stated that the U.S. government had a “deal worked out,” in which the

parties to the deal would “pay $5 billion into a fund for education” so that “we can educate people

as to the real history of our country.” Ex. 27. Plaintiffs had not agreed to contribute to any such

fund. The following day, on September 20, 2020, ByteDance released a statement confirming it

had first heard about the $5 billion education fund from media reports. See Ex. 28.

       On September 21, 2020, the Department of Commerce withdrew the September 18

document setting forth the Prohibitions. Then, on September 22, 2020, it promulgated a new

document that moved the implementation date for the initial Prohibition from September 20 to

September 27, 2020. Ex. 29. The September 22 document, which will be published in the Federal

Register on September 24, 2020, was otherwise identical to the Prohibitions. Id.

       As of September 27, 2020, the Prohibitions forbid transactions involving “[a]ny provision

of services to distribute or maintain the TikTok mobile application, constituent code, or application

updates through an online mobile application store” available to individuals in the United States,

which prevents TikTok from being available for download on U.S. app stores. Id.

       As of November 12, 2020, the Prohibitions prohibit transactions involving:

              “[a]ny provision of internet hosting services enabling the functioning or
               optimization of the TikTok mobile application,”

              “[a]ny provision of content delivery network services enabling the functioning or
               optimization of the TikTok mobile application within the [United States],”

              “[a]ny provision of directly contracted or arranged internet transit or peering
               services enabling the functioning or optimization of the TikTok mobile application
               within the [United States],” and

              “[a]ny utilization of the TikTok mobile application’s constituent code, functions,
               or services in the functioning of software or services developed and/or accessible
               within the [United States].”




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Id. This second set of Prohibitions will prevent Plaintiffs and their commercial partners from

providing the services that enable the TikTok application to function, and will effectively shut

down TikTok in the United States.

       G.      The Prohibitions Are Causing Plaintiffs Irreparable Harm.

       Absent preliminary injunctive relief, the Prohibitions will inflict devastating and

irreparable harm on Plaintiffs during the pendency of this case.

       The Prohibitions will decimate the app’s user base, even ahead of the shut-down. Until the

Administration’s intervention, TikTok was one of the fastest growing apps in the United States,

and its continued rapid growth is necessary to maintain its competitive market position. Pappas

Decl. ¶ 17. As a consequence of the Prohibitions, TikTok will no longer be available on the U.S.

app stores as of September 27, which halts the daily influx of new U.S. users. Id. ¶ 18. Hundreds

of millions of Americans who have not yet downloaded the app will thereby be prevented from

joining and communicating with the TikTok community, and many instead are already beginning

to build relationships with competing platforms, where content creators will follow in order to

attract new audiences. Id. ¶¶ 18-19, 21. And on November 12, 2020, the app will not be useable

by existing U.S. users. See Ex. 29. Competitors are already taking, and will continue to take,

advantage of this impending shutdown to entice TikTok creators and users to switch platforms.

Pappas Decl. ¶¶ 21-22. Even if the ban is lifted after a period of weeks or months, the harm to

TikTok’s user base and competitive position will be permanent. Id. ¶ 19.

       The Prohibitions also will destroy the goodwill that Plaintiffs need to partner with other

businesses and advertisers. Id. ¶ 23. Once TikTok is removed from the app stores, commercial

partners will increasingly move away from TikTok, leading not just to a loss of revenue but also

extraordinary harm to Plaintiffs’ reputation and goodwill, making it unlikely that these

relationships could be salvaged even if the ban is later lifted. Id. Indeed, as a result of the market


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uncertainty generated by the government’s decision to target Plaintiffs, major commercial partners

have already backed out of partnerships with TikTok, resulting in millions of dollars in losses and

damage to Plaintiffs’ relationships with these key business partners. Id. ¶¶ 23-24. This trend will

accelerate as the ban against new users is imposed and the full ban against the app in the U.S.

approaches. Id.

       Even though the Prohibitions are limited to the United States, they will impact TikTok’s

business globally. Pappas Decl. ¶ 20. Because content created by U.S. users can comprise as

much as 60 percent of the content in non-U.S. markets, the shutdown of the app in the United

States will result in a massive decrease in global content, which in turn will negatively impact user

and partner attraction and retention. Id. The harms explained above will have a devastating impact

on Plaintiffs, completely destroying their business.

       The Prohibitions also will greatly harm Plaintiffs’ U.S. workforce. Id. ¶ 26. TikTok is a

technology business; it competes fiercely for software engineers and other talent, and many of its

employees are currently being aggressively recruited by competitors. Id. Given that the U.S.

TikTok business will be shut down as a result of the ban, it will be impossible to recruit and retain

employees devoted to maintaining the service. Id.

       Finally, wholly independent of these harms to the TikTok business, the Prohibitions also

cause irreparable harm to Plaintiffs’ First Amendment rights. They will prevent TikTok Inc. from

continuing to create and share messages about a variety of issues and current events, and from

expressing its ideas through dissemination and use of its code. The Prohibitions also will have a

profoundly negative impact on the public interest, unlawfully restricting core protected speech by

millions of Americans in violation of their First Amendment rights at one of the most critical

times—during the run-up to a national election.




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                                           ARGUMENT

       A preliminary injunction should issue because Plaintiffs have established that (1) there is

a likelihood of success on the merits, (2) they will face irreparable harm in the absence of

preliminary relief, (3) the balance of equities favors preliminary relief, and (4) an injunction is in

the public interest. See, e.g., Winter v. NRDC, 555 U.S. 7, 20 (2008).

I.     Plaintiffs Are Likely to Succeed on the Merits of Their Claims.

       As explained below, the Prohibitions and August 6 order (1) violate the express terms of

IEEPA by exceeding the executive branch’s delegated authority, (2) are arbitrary and capricious

under the APA, (3) violate Plaintiffs’ First and Fifth Amendment rights, and (4) otherwise violate

IEEPA because they are not based on a bona fide national emergency and prohibit activities that

have not been found to pose “an unusual and extraordinary threat,” as IEEPA requires.

       A.      The Prohibitions Violate IEEPA Because They Regulate and Prohibit
               “Personal Communication” and “Informational Materials.”

       Agency action must be set aside if it is “in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. § 706(2)(C). Thus, it is “[a]n essential function of the reviewing court . . .

to guard against bureaucratic excesses by ensuring that administrative agencies remain within

the bounds of their delegated authority.” Planned Parenthood v. Heckler, 712 F.2d 650, 655

(D.C. Cir. 1983). Here, the Prohibitions squarely conflict with the limits placed on the Commerce

Department’s authority under IEEPA—a conclusion reinforced by the serious constitutional

problems that would be created by the agency’s reading of the Act.

               1.      IEEPA Prohibits the Commerce Department from Regulating “Personal
                       Communication” and “Informational Materials.”

       In enacting and amending IEEPA, Congress carefully limited the powers delegated to the

Executive Branch. Specifically, Section 1702(b) provides, in relevant part, that the authority

granted to the President under IEEPA “does not include the authority to regulate or prohibit,



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directly or indirectly … [any] personal communication, which does not involve a transfer of

anything of value” or the importation or exportation “regardless of format or medium of

transmission, of any information or informational materials, including but not limited to,

publications, films, posters, phonograph records, photographs, microfilms, microfiche, tapes,

compact disks, CD ROMs, artworks, and news wire feeds.” 50 U.S.C. § 1702(b)(1), (3) (emphasis

added).2 Through multiple statutory amendments, Congress repeatedly underscored that these

limitations on the President’s regulatory authority are to be given “broad scope.” Kalantari v.

NITV, Inc., 352 F.3d 1202, 1205 (9th Cir. 2003) (quoting H.R. Conf. Rep. No. 103–482, at 239

(1994)). Such an interpretation “avoids serious questions about the constitutionality” of IEEPA,

and “prevent[s] the statute from running afoul of the First Amendment.” Cernuda v. Heavey, 720

F. Supp. 1544, 1553 (S.D. Fla. 1989).

       As originally enacted in 1977, Section 1702(b) excluded from the President’s IEEPA

authority the ability to regulate or prohibit “directly or indirectly” any “personal communication,

which does not involve a transfer of anything of value.” 50 U.S.C. § 1702(b); see also Bernstein

v. Dep’t of State, 974 F. Supp. 1288 (N.D. Cal. 1997) (analyzing limit on authority related to

personal communications as applied to encryption software), aff’d, 176 F.3d 1132 (9th Cir.

1999), reh’g granted, opinion withdrawn, 192 F.3d 1308 (9th Cir. 1999); Declaration of Amanda

L. Tyler (“Tyler Decl.”) ¶ 19.

       In 1988, Congress amended the statute to “expressly revoke[] presidential authority to

regulate or prohibit the importation or exportation” of “information or informational materials.”

Cernuda, 720 F. Supp. at 1547 (citing Pub. L. No. 100–418, § 2502(a), 102 Stat. 1107, 1371



2
       The full text of 50 U.S.C. § 1702 is attached hereto in the Addendum.



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(1988)).3 That amendment (the “Berman Amendment”) “was designed to prevent the executive

branch from restricting the international flow of materials protected by the First Amendment.”

Kalantari, 352 F.3d at 1205. See also Tyler Decl. ¶ 25 (“[The Berman Amendment] is the

product of a Congress’s determination that the authority granted to the President under the IEEPA

should not be invoked in a way that undermines the free exchange of ideas and information.”).

       Six years later, Congress once again “expanded this limitation on executive authority by

enacting the Free Trade in Ideas Act [‘FTIA’].” United States v. Amirnazmi, 645 F.3d 564, 585

(3d Cir. 2011) (citing Pub. L. No. 103–236, § 525, 108 Stat. 382, 474 (1994)). The FTIA

amendment further “restrict[ed] the Executive from regulating transactions concerning

informational materials ‘regardless of format or medium of transmission,’” id. (quoting Pub. L.

No. 103–236, § 525(c)(1)), and expanded the statute’s “nonexclusive list of informational

materials to include new media, such as compact discs and CD ROMs,” Kalantari, 352 F.3d at

1205. See also Tyler Decl. ¶¶ 23-24. The Conference Report accompanying the FTIA reaffirmed

that Section 1702(b) “was explicitly intended, by including the words ‘directly or indirectly,’ to

have a broad scope.” Amirnazmi, 645 F.3d at 585 (quoting H.R. Conf. Rep. No. 103–482, at 239

(1994)).




3
       The amendment added identical text to IEEPA and the Trading with the Enemy Act of
1917, Pub. L. No. 65–91, § 5, 40 Stat. 411, 415 (1917), as amended, 50 U.S.C. § 4305
(“TWEA”). See Kalantari, 352 F.3d at 1205 n.3.




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               2.      The Prohibitions Unlawfully Regulate “Personal Communications” and
                       “Informational Materials.”

       Notwithstanding this unambiguous statutory language and clear Congressional intent, the

Prohibitions directly contravene Section 1702(b) by regulating personal communications and the

international transmittal of informational materials.4

       Millions of TikTok users rely on TikTok to send “personal communication[s]” that “do[]

not involve a transfer of anything of value.” 50 U.S.C. § 1702(b)(1). TikTok is a social media

platform—an online community where millions of Americans come together to express

themselves, share video content, and make connections with each other. Pappas Decl. ¶¶ 4, 17.

The Prohibitions will destroy this online community, first by requiring the removal of TikTok from

the U.S. app stores, and, when the remaining Prohibitions come into effect on November 12, 2020,

shutting down TikTok entirely.       The Prohibitions will prevent TikTok’s users—including

Plaintiffs themselves—from expressing their viewpoints, interests, and beliefs with one another.

The regulation and prohibition of such communications—precisely what the Prohibitions do

here—is not permitted by IEEPA under the plain language of Section 1702(b)(1).

       TikTok users also use the platform to share “information or informational materials” with

users around the world. Pappas Decl. ¶¶ 4, 20. Section 1702(b)(3) provides a non-exclusive list

of such materials over which the executive branch has no IEEPA authority, including “films . . .

photographs . . . [and] artworks”—the exact media shared on TikTok. The Commerce Department

lacks the authority to even regulate the international flow of these materials—either “directly or

indirectly,” and “regardless of format or medium of transmission”—let alone prohibit it. 50 U.S.C.


4
       This is true for both the ban on new U.S. users, which will begin when the first
Prohibition goes into effect on September 27, 2020, as well as the broader set of Prohibitions,
which will go into effect on November 12, 2020.




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§§ 1702(b)(3). The Prohibitions violate this statutory command by banning U.S. users—first new

U.S. users on September 27, and then all U.S. users on November 12—from sharing content with

TikTok users in other countries, and receiving content from such users.5 See Pappas Decl. ¶¶ 4,

20. At a minimum, the Prohibitions indirectly regulate this conduct, in direct violation of Section

1702(b)(3).

       Furthermore, the TikTok application—a social media platform over which information is

shared—is closely analogous to the “news wire feed” included in Section 1702(b)(3)’s non-

exhaustive list of items over which the President lacks regulatory authority. See Oxford English

Dictionary (Sept. 2003), available at www.oed.com/view/Entry/255044 (defining “newswire” as

“a service which transmits up-to-the-minute news, usually electronically (esp. via the internet), to

news media and the general public”). And blocking access to TikTok’s platform for personal

communication and information exchange undoubtedly raises the First Amendment concerns

Section 1702(b) was designed to address. See Kalantari, 352 F.3d at 1205.

        Apart from the plain language of the statute, which is dispositive, the Prohibitions conflict

with the executive branch’s historical practice of implementing its IEEPA authority. For example,

the Treasury Department’s Office of Foreign Assets Control (“OFAC”), which frequently

implements IEEPA sanctions programs, recognizes that its prohibitions do not apply to the

importation or exportation of information or informational materials, “regardless of the format or

medium of transmission.” See, e.g., 31 C.F.R. § 560.210 (exempting “informational materials,”

as defined in 31 C.F.R. § 560.315, from the list of prohibited transactions); 31 C.F.R. § 560.315(a)

(featuring same definition of “informational materials” as Section 1702(b), with such materials



5
       U.S. content can comprise as much as 60% of the content in TikTok’s non-U.S. markets.
Pappas Decl. ¶ 20.



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defined as including, but not limited to, films, photographs, and artworks, among others); Tyler

Decl. ¶ 45. And to the extent social media platforms are affected by sanctions programs, OFAC

often incorporates general licenses to ensure those platforms remain available for personal

communications. See, e.g., 31 CFR § 560.540(a)(1) (authorizing “[t]he exportation from the

United States or by U.S. persons, wherever located, to persons in Iran of services incident to the

exchange of personal communications over the Internet, such as instant messaging, chat and email,

social networking, sharing of photos and movies, web browsing, and blogging, provided that such

services are publicly available at no cost to the user”); Tyler Decl. ¶ 45. OFAC has never used its

authorities to target social media platforms used by millions of U.S. users. Tyler Decl. ¶ 46.

       B.      The Prohibitions Are Arbitrary and Capricious Because the Agency Failed to
               Consider Reasonable Alternatives and Offered a Pretextual Justification for
               Its Action.

       Under the APA, a court must set aside agency action if it is “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). Here, the

Prohibitions are arbitrary and capricious because the Commerce Department (1) ignored the

evidence before it and failed to consider reasonable alternatives to the Prohibition’s sweeping

ban on TikTok, including the extensive mitigation measures Plaintiffs proposed, and (2) offered

a pretextual national security justification that is unsupported and belied by the political

motivations that prompted the August 6 order and the Prohibitions.

               1.     The Agency Ignored the Evidence Before It and Failed to Consider
                      Reasonable Alternatives to the Ban on TikTok.

       To survive review under the APA, an agency must “consider significant alternatives to

the course it ultimately chooses,” and explain its rejection of those alternatives. Allied Local &

Reg’l Mfrs. Caucus v. EPA, 215 F.3d 61, 80 (D.C. Cir. 2000). “[T]he failure of an agency to




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consider obvious alternatives has led uniformly to reversal.” Yakima Valley Cablevision, Inc. v.

FCC, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986).

       Here, the Prohibitions’ stated justification is that TikTok poses a “threat” to the national

security, foreign policy, and economy of the United States, as set forth in the August 6 order.

Ex. 29. That order, in turn, states that because TikTok is “owned by the Chinese company

ByteDance Ltd.,” there is a “potential” risk (i) that the “Chinese Communist Party [could] access

. . . Americans’ personal and proprietary information”; and (ii) that TikTok could “censor content

that the Chinese Communist Party deems politically sensitive” or “for disinformation campaigns

that benefit the Chinese Communist Party.” Ex. 12.

       But the speculative language of the Prohibitions demonstrates that the government does

not have any evidence that the Chinese government has ever obtained any TikTok U.S. user data.

See Ex. 30. Indeed, the evidence shows that TikTok stores that data outside of China, subjects it

to robust data security safeguards that are “consistent with industry best practice,” Weber Decl.

¶ 10, and keeps it under the control of a U.S.-based leadership team, Cloutier Decl. ¶¶ 7-13. Nor

is there any evidence that the platform has been used for censorship by the Chinese government.

See Weber Decl. ¶¶ 10-17; Pappas Decl. ¶ 15. Thus, the government’s conduct does not reflect

“a rational connection between the facts found and the choice made,” as the APA requires. Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(agency action is arbitrary if it “failed to consider an important aspect of the problem [or] offered

an explanation for its decision that runs counter to the evidence before [it]”).

       Moreover, even if the Court were to credit the faulty conclusion that TikTok’s data

security safeguards are inadequate, the Prohibitions are arbitrary and capricious because the

Commerce Department failed to “consider reasonably obvious alternatives to [its] proposed rule”




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and explain its reasons for rejecting those alternatives. Walter O. Boswell Mem’l Hosp. v.

Heckler, 749 F.2d 788, 797, 803 (D.C. Cir. 1984). Indeed, there is no indication that the agency

even considered Plaintiffs’ extensive data security protections and the range of tools available

pursuant to the CFIUS process—including the extensive measures suggested by Plaintiffs—let

alone provided a sound explanation for rejecting them.

          These measures are wide-ranging and robust. For example, on September 13, 2020,

Plaintiffs offered to provide a trusted U.S. technology provider operational control over the

infrastructure that services U.S. users and stores U.S. TikTok user data, and to give the

government oversight of TikTok’s U.S. information security. See Ex. 22. Plaintiffs further

proposed that they restructure their business to create a separately-governed U.S.-based TikTok

business with responsibility for all TikTok operations in the United States and all matters

involving TikTok’s U.S. users. See id. And they offered to implement other data security

measures to fully address the purported concerns outlined in the August 6 and CFIUS orders.

See id. These measures would have allowed the government to mitigate its purported concerns

beyond what could be achieved with others in the industry. See Weber Decl. ¶¶ 11, 17, 18.

Moreover, to the extent the ban is premised on TikTok’s ownership “by the Chinese company

ByteDance,” Ex. 12, that can also be addressed by measures short of shutting down the app.

Indeed, the CFIUS order mandates that ByteDance sell TikTok Inc. by November 12, 2020,

Ex. 14, and, while a severe and manifestly unjustified order, with which Plaintiffs vehemently

disagree, this measure is still less extreme than a total ban on TikTok operations in the United

States.

          “At the very least th[ese] alternative way[s] of achieving the [government’s] objectives

. . . should have been addressed and adequate reasons given for [their] abandonment.” State




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Farm, 463 U.S. at 48. Instead, the government chose the harshest measure possible—a ban on

TikTok in the U.S.—without considering these alternatives or trying to craft a narrower solution

to addresses its purported national security concerns. This failure, standing alone, renders the

Prohibitions arbitrary and capricious—and therefore unlawful—under the APA. See Heckler,

749 F.2d at 797.

               2.      The Stated Justification for the Prohibitions Is Pretextual.

       The Commerce Department’s failure to consider reasonable alternatives to a complete ban

on TikTok evinces not only a lack of rigor in the agency’s process. It also makes clear that the

real reason for the agency’s decision was something other than the stated national security

concerns. This is another, wholly independent ground on which to invalidate the Prohibitions. See

Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2019); Woods Petroleum Corp. v. U.S.

Dep’t of Interior, 18 F.3d 854, 859-60 (10th Cir. 1994) (setting aside agency action because the

“sole reason” for the action was “to provide a pretext” for the agency’s “ulterior motive”).

       The Prohibitions purportedly target TikTok because of the speculative possibility (asserted

in the August 6 order) that U.S. user data from the app could be manipulated by the Chinese

government. Ex. 29. But, as discussed above, Plaintiffs have taken measures to protect the privacy

and security of TikTok’s U.S. user data, including by storing such data outside of China and by

erecting software barriers that help ensure that TikTok stores its U.S. user data separately from the

user data of other ByteDance products. See supra pp. 4-7. Moreover, the eagerness of a number

of U.S. companies to serve as TikTok’s trusted technology partner in the United States—and

public statements confirming these companies’ beliefs that such measures could address the

government’s purported national security concerns, see Exs. 31, 32—underscore the many

options, short of a total ban on TikTok, that were available to the government.




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       Virtually every company, governmental entity, and non-governmental organization,

regardless of ownership, faces risks to the security of the data it stores—whether on behalf of

employees, customers, or others. Weber Decl. ¶ 4. Indeed, TikTok’s approach for dealing with

these issues is generally in line with—and in some respects markedly better than—industry best

practices, even for companies that hold significant sensitive user data. Id. ¶¶ 4, 10, 18; see also

id. ¶ 17 (TikTok’s Transparency and Accountability Center “sets a new ‘gold standard’ that other

social media companies will be pressured to meet, to the overall good of the industry”). Thus,

TikTok poses no national security concerns beyond the data security issues inherent in any social

media platform, id. ¶¶ 4, 10, 18; Cloutier Decl. ¶¶ 4-18, and the divergent approach the agency

took toward TikTok compared to other platforms suggests that “the sole stated reason [for the

Prohibitions] seems to have been contrived,” Dep’t of Commerce, 139 S. Ct. at 2575. ¶

       The Prohibitions were issued against the backdrop of a political reelection campaign in

which the President has increasingly relied on anti-Chinese rhetoric. See, e.g., Ex. 7. And there

is no question that the first mention of the Trump Administration possibly banning TikTok came

on the heels of the episode in which TikTok users claimed to have used the app to make it appear

to the President’s campaign that attendance for the President’s Tulsa rally in June would be vastly

larger than it actually was, Ex. 9, an embarrassment that led to the campaign running ads against

TikTok, Ex. 11. The record will make clear that these issues—not any purported national security

concerns—were the actual rationale for the Prohibitions. See, e.g., Home Box Office, Inc. v. FCC,

567 F.2d 9, 54-55 (D.C. Cir. 1977) (when an agency sets forth a “fictional account of the actual

decisionmaking process” a reviewing court “must perforce find its actions arbitrary”); Tummino

v. Torti, 603 F. Supp. 2d 519, 544-46 (E.D.N.Y. 2009) (agency action is arbitrary when articulated

basis is “fanciful and wholly unsubstantiated” and other considerations are evident from record).




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       The claim that national security concerns were the agency’s actual motivation for requiring

a total ban of TikTok in the United States is contradicted by the President’s persistent focus on

extracting some type of financial bounty in exchange for permitting Plaintiffs to continue their

lawful business in the United States. On August 3, 2020—three days before the August 6 order

was issued—the President stated that TikTok “[doesn’t] have any rights” and that he would ban

the company unless it were acquired through “an appropriate deal” in which “the Treasury . . . of

the United States gets a lot of money.” Exs. 15, 16. This demand for a payment to the Treasury

is at odds with notion that banning TikTok is necessary to protect national security.

       The President also demanded that the parties involved in the TikTok-Oracle-Walmart deal

“pay $5 billion into a fund for education” so that “we can educate people as to the real history of

our country.” Ex. 27. Such a demand not only is completely untethered to the national security

concerns on which the Prohibitions were purportedly based, but is entirely inappropriate. Indeed,

in analogous contexts, courts—as well as the government itself—have recognized the impropriety

of the government demanding that a private party make a payment to a third party. For example,

the Supreme Court has long recognized that the government “effects an unconstitutional taking

when it transfers property, without any justifying public purpose, from one private party to

another.” Corp. of Presiding Bishop of Church of Jesus Christ of Latter-Day Saints v. Hodel, 637

F. Supp. 1398, 1406 (D.D.C. 1986), aff’d, 830 F.2d 374 (D.C. Cir. 1987) (citing Hawaii Housing

Auth. v. Midkiff, 467 U.S. 229, 241 (1984) and Thompson v. Cons. Gas Corp., 300 U.S. 55, 80

(1937)).

       Likewise, the Department of Justice’s Justice Manual explains that, except in limited

contexts not relevant here, it is “not appropriate” for the government “to use a settlement agreement

to require, as a condition of settlement, payment to non-governmental, third-party organizations




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who are not victims or parties to the lawsuit.” Justice Manual § 1-17.000. The Justice Manual

accordingly instructs that “Department attorneys shall not enter into any agreement on behalf of

the United States in settlement of federal claims or charges, including agreements settling civil

litigation, accepting plea agreements, or deferring or declining prosecution in a criminal matter,

that directs or provides for a payment to any non-governmental person or entity that is not a party

to the dispute.” Id.; see also Office of the Attorney General, Prohibition on Settlement Payments

to   Third   Parties   (June   5,   2017),    available   at   https://www.justice.gov/opa/press-

release/file/971826/download (same).6

       Furthermore, after expressing its purported national security concerns in the August 6

order, the government waited an additional 43 days to issue the Prohibitions, and a further 55 days

beyond that before the Prohibitions go into full effect. Ex. 22. It also extended the first

Prohibition’s ban on TikTok from U.S. app stores for a week, from September 20 to September 27.

Ex. 26. If pressing national security concerns were the true motive for the agency’s conduct, such

a long delay would have been intolerable. Likewise, when it finally did issue the Prohibitions,

those restrictions were not crafted to respond to any purported national security threat. The

Prohibitions do not, for example, immediately ban TikTok throughout the United States. Instead,

they bar TikTok from mobile app stores, preventing new users from downloading the app and

existing users from downloading updates to the app. Ex. 29. Such measures not only fail to

address any pressing national security concerns, but actually undermine the very security concerns



6
         In announcing this policy, former Attorney General Jeff Sessions explained that “[w]hen
the federal government settles a case against a corporate wrongdoer, any settlement funds should
go first to the victims and then to the American people—not to bankroll third-party special
interest groups or the political friends of whoever is in power.” Dep’t of Justice Press Release
(June 7, 2017), available at https://www.justice.gov/opa/pr/attorney-general-jeff-sessions-ends-
third-party-settlement-practice.



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purportedly animating the agency’s conduct by preventing existing users from downloading

security updates to keep their data secure.

        “Altogether, the evidence tells a story that does not match the Secretary’s explanation for

his decision.” Dep’t of Commerce, 139 S. Ct. at 2575. This record makes clear that the

Prohibitions could not have been based upon a good faith belief that banning TikTok was necessary

to protect national security, and that the stated national security justification was a pretext for other

considerations. The Prohibitions should be enjoined. See N.E. Coal. v. NRC, 727 F.2d 1127,

1130-31 (D.C. Cir. 1984) (agency action is arbitrary and capricious where agency’s stated reason

is inconsistent with action taken).

        C.      The Prohibitions Violate Plaintiffs’ Constitutional Rights.

                1.      The Prohibitions Infringe on Core Protected Speech in Violation of the First
                        Amendment.

        Social media applications like TikTok represent “the modern public square . . . [and]

provide perhaps the most powerful mechanisms available to a private citizen to make his or her

voice heard.” Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). The Prohibitions

have shuttered this “modern public square,” restricting Plaintiffs’ protected speech in violation of

the First Amendment. See Order Granting Mot. for Prelim. Inj., U.S. WeChat Users Alliance v.

Trump, No. 3:20-cv-05910-LB (N.D. Cal. Nov. 19, 2020), ECF 59 (preliminarily enjoining similar

restrictions against WeChat because “plaintiffs have shown serious questions going to the merits

of their First Amendment claim that the Secretary’s prohibited transactions effectively eliminate

the plaintiffs’ key platform for communication, slow or eliminate discourse, and are the equivalent

of censorship of speech or a prior restraint on it”).

        Plaintiffs have two interests that are protected under the First Amendment. First, as users

of the platform, Plaintiffs are speakers themselves on the TikTok application, and have the right



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to communicate freely with other individuals over the platform. See Exs. 33, 34. The Supreme

Court has recognized that the “wide array” of speech on social media, on topics as “diverse as

human thought,” is core protected speech. See Packingham, 137 S. Ct. at 1735-36 (“It is

cyberspace—the ‘vast democratic forums of the Internet’ in general, and social media in

particular” that are “the most important places . . . for the exchange of views.” (citation omitted)).

Second, Plaintiffs have a protected First Amendment interest in and to their source code. “Because

computer source code is an expressive means for the exchange of information and ideas about

computer programming . . . it is protected by the First Amendment.” Junger v. Daley, 209 F.3d

481, 485 (6th Cir. 2000); see also Bernstein v. U.S. Dep’t of State, 922 F. Supp. 1426, 1435 (N.D.

Cal. 1996) (similar).

       The Prohibitions unlawfully restrict these protected interests, violating Plaintiffs’ First

Amendment rights. Se. Promotions, Ltd. v. Conrad, 420 U.S. 546 (1975) (denial of use of

municipal facility for theater production was an unlawful prior restraint). The Prohibitions will

shut down TikTok, disabling its core functionality and barring its millions of users—including

Plaintiffs themselves—from engaging in speech. These restrictions will impose a prior restraint

by “forbidding certain communications when issued in advance of the time that such

communications are to occur.” Alexander v. United States, 509 U.S. 544, 550 (1993). The

Supreme Court has “consistently” recognized “in a long line of cases” that government actions

that “deny use of a forum in advance of actual expression” or forbid “the use of public places [for

plaintiffs] to say what they wanted to say”—like the Prohibitions do here—are unconstitutional

prior restraints. Se. Promotions, 420 U.S. at 552-53.

       Such restraints are reviewed for strict scrutiny and “bear[] a heavy presumption against

[their] constitutional validity.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963). The




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government bears the burden of proof under strict scrutiny and must prove it has narrowly tailored

the restraint to promote a compelling government interest while treading as lightly as possible on

the right to speak. United States v. Playboy Entm’t Grp., 529 U.S. 803, 816 (2000). “If a less

restrictive alternative would serve the Government’s purpose, the [government] must use that

alternative.” Id. (emphasis added). The government also must present supporting evidence

“demonstrat[ing] that the recited harms are real, not merely conjectural, and that the [restraint] will

in fact alleviate these harms in a direct and material way.” Turner Broad. Sys., Inc. v. FCC, 512

U.S. 622, 664 (1994). At a minimum, the Prohibitions would receive “intermediate scrutiny,”

which requires that a speech restriction must be “narrowly tailored to serve a substantial

government interest” and may not “burden substantially more speech than is necessary to further

the government’s legitimate interests.” Packingham, 137 S. Ct. at 1736 (citation omitted).

        The Prohibitions do not satisfy either constitutional standard.         Notwithstanding the

substantial governmental interest in national security, the Prohibitions—banning any download of

the TikTok app and, ultimately, any transactions with TikTok Inc.—are far greater than is

necessary to further any compelling government interest, particularly one premised on such a

speculative basis. See New York Times Co. v. United States, 403 U.S. 713, 725–26 (1971) (“[T]he

First Amendment tolerates absolutely no prior judicial restraints of the press predicated upon

surmise or conjecture that untoward consequences may result.”); see also, e.g., Ex. 12 (noting that

China could “potentially” access TikTok user data, which “may be used for disinformation

campaigns”). Indeed, Plaintiffs offered to implement a range of measures, including restructuring

the U.S. TikTok business, to address the government’s purported national security concerns and

allow the app to continue to be available in the United States. Instead of adopting these less-speech

restrictive measures, the government rejected them out of hand and without explanation, choosing




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instead to extinguish a forum used by millions of Americans, including Plaintiffs. Edwards v.

District of Columbia, 755 F.3d 996, 1009 (D.C. Cir. 2014) (“Even assuming [the asserted] harms

are real,” the government “has provided no convincing explanation as to why a more finely tailored

regulatory scheme would not work”).

       “For [more than] two centuries, our country has taken singular pride in the democratic

ideals enshrined in its Constitution, and the most cherished of those ideals have found expression

in the First Amendment.” United States v. Robel, 389 U.S. 258, 264 (1967). Thus, “[i]t would

indeed be ironic if, in the name of national defense, we would sanction the subversion of one of

those liberties—the freedom of association—which makes the defense of the Nation worthwhile.”

Id. Because the scope of the restraint on Plaintiffs’ speech is “greater than essential” to the

furtherance of the purported government interest, the Prohibitions violate the First Amendment.

               2.      The Prohibitions Deprive Plaintiffs of Their Constitutional Right to Due
                       Process.

       When the government deprives private parties of their property rights under IEEPA, those

actions must satisfy the Due Process Clause of the Fifth Amendment. See Holy Land Found. for

Relief and Dev. v. Ashcroft, 333 F.3d 156, 163 (D.C. Cir. 2003). “The fundamental requirement

of due process is the opportunity to be heard at a meaningful time and in a meaningful manner.”

Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (citation omitted).             The Supreme Court

“consistently has held that some form of hearing is required before an individual is finally

deprived” of a property or liberty interest. Id. Even in the national security context, “due process

requires, at the least, that an affected party be informed of the official action, be given access to




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the unclassified evidence on which the official actor relied and be afforded an opportunity to rebut

that evidence.” Ralls Corp. v. CFIUS, 758 F.3d 296, 319 (D.C. Cir. 2014).

       Here, the government violated these requirements. At no point before or after the issuance

of the Prohibitions have Plaintiffs received an adequate explanation for the government’s action,

let alone been afforded a meaningful opportunity to respond. As noted above, the Prohibitions

rely exclusively on vague and speculative statements about the “possibility” that TikTok might be

misused by the Chinese government, but cite no specific evidence that TikTok could rebut. See

supra pp. 20-21. Nor did the Commerce Department ever give TikTok an opportunity to be heard

on why these purported concerns are misplaced. This is insufficient. See, e.g., Holy Land, 333

F.3d at 163 (to comply with due process requirements, OFAC is required to provide notice and

“the opportunity to present, at least in written form, such evidence as those entities may be able to

produce to rebut the administrative record or otherwise negate the proposition that they are foreign

terrorist organizations”); Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d

965, 988, 1001 (9th Cir. 2012) (OFAC violated plaintiff’s due process rights by, among other

things, “failing to provide an adequate statement of reasons for its investigation” and failing to

afford the plaintiff a meaningful opportunity to respond); KindHearts v. Geithner, 647 F. Supp. 2d

857, 905-08 (N.D. Ohio 2009) (similar).

       D.      The Prohibitions and August 6 Order Violate IEEPA in Other Respects.

       In addition to the infirmities outlined above, the Prohibitions and August 6 order are ultra

vires because they are not based on a bona fide national emergency and prohibit activities that

have not been found to pose “an unusual and extraordinary threat,” as IEEPA requires. Because

the Prohibitions and August 6 order go beyond the scope of the President’s statutory authority,

they should be enjoined. See, e.g., Nalco Co. v. EPA, 786 F. Supp. 2d 177, 187-89 (D.D.C. 2011)

(granting preliminary injunction on this basis); see also Ala. Power Co. v. EPA, 40 F.3d 450, 456


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(D.C. Cir. 1994) (“neither this court nor the agency is free to ignore the plain meaning of the statute

and to substitute its policy judgment for that of Congress”) (quotation marks omitted).

       IEEPA provides, in relevant part, that after first declaring a national emergency under the

National Emergencies Act (“NEA”), 50 U.S.C. § 1601 et seq., the President may regulate various

international economic transactions “to deal with any unusual and extraordinary threat” to certain

government interests, including the national security, as the President claimed here. 50 U.S.C.

§ 1701(a). Before the President is empowered to exercise authority under IEEPA, however, he

must first declare a national emergency for purposes of the NEA, 50 U.S.C. § 1601 et seq. See

also Tyler Decl. ¶ 17 (describing President’s IEEPA authority).

       The Prohibitions and the August 6 order cite Executive Order 13873 (issued in 2019),

which declared that “the unrestricted acquisition or use in the United States of [certain] information

and communications technology or services . . . augments the ability of foreign adversaries to

create and exploit vulnerabilities in information and communications technology or services . . .

[and] constitutes an unusual and extraordinary threat to the national security, foreign policy, and

economy of the United States.” Ex. 35. But TikTok is not a telecommunications provider and it

does not provide the types of technology and services contemplated by Executive Order 13873.

Id. It does not provide the hardware backbone to “facilitate the digital economy,” and has no role

in providing “critical infrastructure and vital emergency services.” Id. Rather, TikTok Inc. is a

social media company, and the TikTok mobile application is a software platform on which users

express their views and opinions in short form video. Pappas Decl. ¶¶ 4, 17. Thus, the Prohibitions

and the August 6 order are not supported by the emergency declared in Executive Order 13873.

       Apart from their misplaced reliance on Executive Order 13873, the Prohibitions and the

August 6 order also fail to identify any actual threat that TikTok poses to U.S. national security.




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The August 6 order states that TikTok (i) engages in data collection practices that “potentially

allow[] China” to make use of U.S. user data, (ii) “reportedly censors content,” and (iii) “may

[also] be used for disinformation campaigns.” Ex. 12. These speculative assertions, made without

evidentiary support, do not constitute a bona fide national emergency. See 50 U.S.C. § 1701(a)

(“emergency” must be an “unusual and extraordinary threat”); Revision of Trading With the

Enemy Act: Markup Before the H. Comm. on Int’l Relations, 95th Cong. 4 (1977) (emergencies

under IEEPA are “rare and brief,” not “normal, ongoing problems”).

       Because the Prohibitions and August 6 order were not issued to deal with an “unusual and

extraordinary threat” to the national security of the United States, as IEEPA requires, they are

unlawful and should be enjoined.

II.    The Remaining Factors Require Injunctive Relief.

       A.      The Prohibitions and August 6 Order Are Inflicting, and Will Continue to
               Inflict, Irreparable Harm.

       Absent preliminary injunctive relief, the Prohibitions and August 6 order will inflict

substantial and irreparable harm on Plaintiffs during the pendency of this case.

       As discussed above, Plaintiffs face an immediate restriction of their protected First

Amendment rights to speak and receive information. See supra pp. 27-30. The “loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion). Indeed, “[w]hen an alleged

deprivation of a constitutional right is involved, most courts hold that no further showing of

irreparable injury is necessary.” Grace v. District of Columbia, 187 F. Supp. 3d 124, 149 (D.D.C.

2016) (citation omitted).

       Plaintiffs also face a panoply of irreparable harms to their business. If allowed to remain

in place, the Prohibitions will irreversibly destroy the TikTok business in the United States: they



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will devastate TikTok’s user base and competitive position, destroy the goodwill necessary for

TikTok to maintain commercial partners in the United States, and cripple Plaintiffs’ ability to

attract and retain talent.

        First, absent a preliminary injunction, Plaintiffs will suffer devastating and irreparable

harm through the loss of TikTok’s user base and the long-term erosion of market share. Until

the August 6 order, TikTok was one of the fastest growing apps in the United States, adding

424,000 new U.S. users each day. See Pappas Decl. ¶ 18. Continued growth is the lifeblood of

a social media company like TikTok and essential to maintain its competitive market position.

See id. ¶ 17. By barring TikTok from U.S. app stores, however, the direct effect of the first

Prohibition is to halt the influx of new users to TikTok, depriving hundreds of millions of U.S.

citizens who have not yet downloaded TikTok of access to the TikTok app. Id. Even before the

Prohibitions were announced, uncertainty over TikTok’s availability in the United States began

to drive prominent TikTok content creators (and their fans) to other platforms. See id. ¶¶ 21-22;

see also Ex. 36. And once users are established on a different application, they are unlikely to

return to TikTok. Pappas Decl. ¶¶ 21-22.

        As the November 12th deadline for the remaining Prohibitions approaches, and TikTok is

shut down entirely in the United States, this erosion of TikTok’s competitive position will

accelerate. Even if the shutdown were lifted within two months, 40–50% of daily active users

would be lost permanently, never to return. Pappas Decl. ¶ 19. If the ban is in place for six months,

80–90% of daily active users will not return. Id. Accordingly, even if the TikTok Ban were later

reversed, TikTok would not be able to reverse the loss of users. Id. It is well-established that this

sort of loss of market share to a competitor constitutes irreparable harm. See, e.g., Bayer

HealthCare, LLC v. FDA, 942 F. Supp. 2d 17, 26 (D.D.C. 2013) (“Courts have recognized that




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price erosion and diminished market share can constitute irreparable harm”); Nalco, 786 F. Supp.

2d at 188.

       Second, the Prohibitions have already struck a serious blow to Plaintiffs’ reputation and

competitive strength. Pappas Decl. ¶¶ 21-22. TikTok’s commercial partners and U.S. advertisers

want to work with TikTok because of its vibrant community. By destroying that community—

first by shutting TikTok out of the app stores and then by shutting down TikTok entirely—the

Prohibitions have caused and will cause lasting damage to TikTok’s reputation and attractiveness

as a commercial partner, causing current and prospective partners to forge relationships with its

competitors, such as Instagram Reels, instead. Id. ¶¶ 6, 23-25. Businesses like TikTok place a

premium on U.S. advertisers, which are often the most successful at generating revenue for the

company because they typically pay better rates for their advertisements than advertisers in other

markets. Id. ¶ 25. If TikTok is perceived to be an unreliable partner in the marketplace, advertisers

will build partnerships with other platforms instead. Id.; see also Brodie v. Dep’t of Health and

Human Servs., 715 F. Supp. 2d 74, 84 (D.D.C. 2010) (“harm to reputation has been recognized

repeatedly as a type of irreparable injury”).

       Indeed, the market uncertainty generated by the government’s decision to target Plaintiffs

has already destabilized TikTok’s business and its strategic partnerships, resulting in millions of

dollars of losses and damage to Plaintiffs’ relationships with major commercial partners and

advertisers who backed out of deals with TikTok after the President issued the August 6 order.

See Pappas Decl. ¶¶ 24–25. Now that the Prohibitions have been issued, Plaintiffs’ business will

be decimated, as the Prohibitions have destroyed Plaintiffs’ ability to engage in the conduct on

which their business depends: growing users and developing good content. Id. ¶ 17. Likewise,

by undercutting Plaintiffs’ U.S. operations, the Prohibitions harm Plaintiffs’ ability to attract and




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retain top employees, some of whom have already rejected offers of employment based on the

government’s actions against TikTok. Id. ¶ 26.

       Although economic loss alone generally does not constitute irreparable harm, that is not

so when the harm—as here—“is so severe as to cause extreme hardship to the business or threaten

its very existence.” Sterling Com. Credit-Michigan, LLC v. Phoenix Industries I, LLC, 762 F.

Supp. 2d 8, 15 (D.D.C. 2011) (citation omitted); Smoking Everywhere, Inc. v. FDA, 680 F. Supp.

2d 62, 76 (D.D.C. 2010), aff’d sub nom. Sottera, Inc. v. FDA, 627 F.3d 891 (D.C. Cir. 2010).

Moreover, when sovereign immunity bars a plaintiff from recovering damages from a federal

agency—as is the case here—economic loss suffered by the plaintiff may be irreparable. See

Feinerman v. Bernardi, 558 F. Supp. 2d 36, 51 (D.D.C. 2008); Smoking Everywhere, 680 F.

Supp. 2d at 77 n.19. See also Beacon Theatres v. Westover, 359 U.S. 500, 506-07 (1959) (“The

basis of injunctive relief in the federal courts has always been irreparable harm and inadequacy

of legal remedies.”). The catastrophic economic loss Plaintiffs will suffer in the absence of action

from this Court is thus precisely the type of injury that “tip[s] the balance in favor of injunctive

relief.” Bracco Diagnostics, Inc. v. Shalala, 963 F. Supp. 20, 29 (D.D.C. 1997).

       B.      The Balance of Equities and Public Interest Require Injunctive Relief.

       The final two elements of the test for provisional relief—the balance of the equities and

the public interest—merge when the government is a party. See Pursuing Am.’s Greatness v.

Fed. Election Comm., 831 F.3d 500, 511 (D.C. Cir. 2016). In assessing these factors, courts

consider the impacts of the injunction on nonparties as well. See id. at 511-12.

       The public interest requires an injunction against the Prohibitions’ unlawful restriction of

core protected speech by millions of Americans in violation of their First Amendment rights.

“[E]nforcement of an unconstitutional law is always contrary to the public interest.” Id. at 511.

Moreover, “there is always a strong public interest in the exercise of free speech rights otherwise


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abridged by an unconstitutional regulation.” Id.; see also Gordon v. Holder, 721 F.3d 638, 653

(D.C. Cir. 2013) (similar). Here, absent preliminary injunctive relief, TikTok and its users will

be “unable to exercise those rights.” Pursuing Am.’s Greatness, 831 F.3d at 511.

       Similarly, “[t]here is generally no public interest in the perpetuation of unlawful agency

action.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (collecting

cases). “To the contrary, there is a substantial public interest ‘in having governmental agencies

abide by the federal laws that govern their existence and operations.’” Id. (citation omitted). See

also, e.g., R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (“[A]s courts in this District

have recognized, ‘the public interest is served when administrative agencies comply with their

obligations under the APA.’” (quoting N. Mariana Islands v. United States, 686 F. Supp. 2d 7,

21 (D.D.C. 2009))).

       On the other side of the ledger, the government will not face any harm if a preliminary

injunction is granted. The Commerce Department’s 45-day delay before issuing the Prohibitions,

as well as the further delay until November 12 for them to go fully into effect, undercuts any

purported urgency justifying immediate implementation of the Prohibitions. Moreover, the

government “cannot suffer harm from an injunction that merely ends an unlawful practice or

reads a statute as required to avoid constitutional concerns.” R.I.L-R, 80 F. Supp. at 191 (citation

omitted).

       Because the harm the Prohibitions inflict on Plaintiffs and third parties grossly outweighs

any purported harm to the government that an injunction would impose, they should be enjoined.




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                                        CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ Motion for a Preliminary

Injunction.

DATED: September 23, 2020                  Respectfully submitted,



                                             /s/ John E. Hall              .

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              Addendum
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§ 1702. Presidential authorities, 50 USCA § 1702




     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation


  United States Code Annotated
   Title 50. War and National Defense (Refs & Annos)
      Chapter 35. International Emergency Economic Powers (Refs & Annos)

                                                        50 U.S.C.A. § 1702

                                                 § 1702. Presidential authorities

                                                  Effective: October 26, 2001
                                                          Currentness


(a) In general


(1) At the times and to the extent specified in section 1701 of this title, the President may, under such regulations as he may
prescribe, by means of instructions, licenses, or otherwise--


  (A) investigate, regulate, or prohibit--


     (i) any transactions in foreign exchange,


     (ii) transfers of credit or payments between, by, through, or to any banking institution, to the extent that such transfers or
     payments involve any interest of any foreign country or a national thereof,


     (iii) the importing or exporting of currency or securities,

     by any person, or with respect to any property, subject to the jurisdiction of the United States;


  (B) investigate, block during the pendency of an investigation, regulate, direct and compel, nullify, void, prevent or prohibit,
  any acquisition, holding, withholding, use, transfer, withdrawal, transportation, importation or exportation of, or dealing in,
  or exercising any right, power, or privilege with respect to, or transactions involving, any property in which any foreign
  country or a national thereof has any interest by any person, or with respect to any property, subject to the jurisdiction of
  the United States; and. 1


  (C) when the United States is engaged in armed hostilities or has been attacked by a foreign country or foreign nationals,
  confiscate any property, subject to the jurisdiction of the United States, of any foreign person, foreign organization, or foreign
  country that he determines has planned, authorized, aided, or engaged in such hostilities or attacks against the United States;
  and all right, title, and interest in any property so confiscated shall vest, when, as, and upon the terms directed by the President,
  in such agency or person as the President may designate from time to time, and upon such terms and conditions as the
  President may prescribe, such interest or property shall be held, used, administered, liquidated, sold, or otherwise dealt with




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  in the interest of and for the benefit of the United States, and such designated agency or person may perform any and all acts
  incident to the accomplishment or furtherance of these purposes.


(2) In exercising the authorities granted by paragraph (1), the President may require any person to keep a full record of, and
to furnish under oath, in the form of reports or otherwise, complete information relative to any act or transaction referred to in
paragraph (1) either before, during, or after the completion thereof, or relative to any interest in foreign property, or relative to
any property in which any foreign country or any national thereof has or has had any interest, or as may be otherwise necessary
to enforce the provisions of such paragraph. In any case in which a report by a person could be required under this paragraph,
the President may require the production of any books of account, records, contracts, letters, memoranda, or other papers, in
the custody or control of such person.


(3) Compliance with any regulation, instruction, or direction issued under this chapter shall to the extent thereof be a full
acquittance and discharge for all purposes of the obligation of the person making the same. No person shall be held liable in
any court for or with respect to anything done or omitted in good faith in connection with the administration of, or pursuant to
and in reliance on, this chapter, or any regulation, instruction, or direction issued under this chapter.


(b) Exceptions to grant of authority

The authority granted to the President by this section does not include the authority to regulate or prohibit, directly or indirectly--


  (1) any postal, telegraphic, telephonic, or other personal communication, which does not involve a transfer of anything of
  value;


  (2) donations, by persons subject to the jurisdiction of the United States, of articles, such as food, clothing, and medicine,
  intended to be used to relieve human suffering, except to the extent that the President determines that such donations (A)
  would seriously impair his ability to deal with any national emergency declared under section 1701 of this title, (B) are in
  response to coercion against the proposed recipient or donor, or (C) would endanger Armed Forces of the United States
  which are engaged in hostilities or are in a situation where imminent involvement in hostilities is clearly indicated by the
  circumstances; or 2


  (3) the importation from any country, or the exportation to any country, whether commercial or otherwise, regardless of format
  or medium of transmission, of any information or informational materials, including but not limited to, publications, films,
  posters, phonograph records, photographs, microfilms, microfiche, tapes, compact disks, CD ROMs, artworks, and news
  wire feeds. The exports exempted from regulation or prohibition by this paragraph do not include those which are otherwise
  controlled for export under section 4604 of this title, or under section 4605 of this title to the extent that such controls promote
  the nonproliferation or antiterrorism policies of the United States, or with respect to which acts are prohibited by chapter
  37 of Title 18;


  (4) any transactions ordinarily incident to travel to or from any country, including importation of accompanied baggage for
  personal use, maintenance within any country including payment of living expenses and acquisition of goods or services for
  personal use, and arrangement or facilitation of such travel including nonscheduled air, sea, or land voyages.




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(c) Classified information.--In any judicial review of a determination made under this section, if the determination was based
on classified information (as defined in section 1(a) of the Classified Information Procedures Act) such information may be
submitted to the reviewing court ex parte and in camera. This subsection does not confer or imply any right to judicial review.


                                                             CREDIT(S)

  (Pub.L. 95-223, Title II, § 203, Dec. 28, 1977, 91 Stat. 1626; Pub.L. 100-418, Title II, § 2502(b)(1), Aug. 23, 1988, 102
Stat. 1371; Pub.L. 103-236, Title V, § 525(c)(1), Apr. 30, 1994, 108 Stat. 474; Pub.L. 107-56, Title I, § 106, Oct. 26, 2001,
115 Stat. 277.)


                                                     EXECUTIVE ORDERS

                                                EXECUTIVE ORDER NO. 13290

              <Mar. 20, 2003, 68 F.R. 14307, as amended by Ex. Ord. No. 13350, July 29, 2004, 69 F.R. 46055>


                                       Confiscating and Vesting Certain Iraqi Property

By the authority vested in me as President by the Constitution and the laws of the United States of America, including the
International Emergency Economic Powers Act (50 U.S.C. 1701 et seq.) (IEEPA), the National Emergencies Act (50 U.S.C.
1601 et seq.), and section 301 of title 3, United States Code, and in order to take additional steps with respect to the national
emergency declared in Executive Order 13303 of March 20, 2003 [set out as a note under 50 U.S.C.A. § 1701], and expanded
in Executive Order 13315 of August 28, 2003 [set out as a note under 50 U.S.C.A. § 1701],

I, GEORGE W. BUSH, President of the United States of America, hereby determine that the United States and Iraq are engaged
in armed hostilities, that it is in the interest of the United States to confiscate certain property of the Government of Iraq and its
agencies, instrumentalities, or controlled entities, and that all right, title, and interest in any property so confiscated should vest
in the Department of the Treasury. I intend that such vested property should be used to assist the Iraqi people and to assist in
the reconstruction of Iraq, and determine that such use would be in the interest of and for the benefit of the United States.

I hereby order:

Section 1. All blocked funds held in the United States in accounts in the name of the Government of Iraq, the Central Bank
of Iraq, Rafidain Bank, Rasheed Bank, or the State Organization for Marketing Oil are hereby confiscated and vested in the
Department of the Treasury, except for the following:

(a) any such funds that are subject to the Vienna Convention on Diplomatic Relations or the Vienna Convention on Consular
Relations, or that enjoy equivalent privileges and immunities under the laws of the United States, and are or have been used
for diplomatic or consular purposes, and

(b) any such amounts that as of the date of this order are subject to post-judgment writs of execution or attachment in aid of
execution of judgments pursuant to section 201 of the Terrorism Risk Insurance Act of 2002 [set out as a note under 15 U.S.C.A.
§ 1610] (Public Law 107-297), provided that, upon satisfaction of the judgments on which such writs are based, any remainder
of such excepted amounts shall, by virtue of this order and without further action, be confiscated and vested.

Sec. 2. The Secretary of the Treasury is authorized to perform, without further approval, ratification, or other action of the
President, all functions of the President set forth in section 203(a)(1)(C) of IEEPA [subsec. (a)(1)(C) of this section] with respect



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to any and all property of the Government of Iraq, including its agencies, instrumentalities, or controlled entities, and to take
additional steps, including the promulgation of rules and regulations as may be necessary, to carry out the purposes of this order.
The Secretary of the Treasury may redelegate such functions in accordance with applicable law. The Secretary of the Treasury
shall consult the Attorney General as appropriate in the implementation of this order.

Sec. 3. This order shall be transmitted to the Congress and published in the Federal Register.

                                                                                                                 GEORGE W. BUSH



Notes of Decisions (92)




                                                           Footnotes


1      So in original. The period probably should not appear.
2      So in original. The word “or” probably should not appear.
50 U.S.C.A. § 1702, 50 USCA § 1702
Current through P.L. 116-158.

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